              Case 2:19-bk-24457-ER                  Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                             Desc
                                                     Main Document Page 1 of 74
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     Central District
     __________ Districtof
                         ofCalifornia
                            __________

     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                             Chapter 11
                                                             Chapter 12
                                                             Chapter 13                                               Check if this is an
                                                                                                                         amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                      12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your
       government-issued picture
                                        Anthony
                                        __________________________________________________       __________________________________________________
                                        First name                                               First name
       identification (for example,
       your driver’s license or         Joseph
                                        __________________________________________________       __________________________________________________
       passport).                       Middle name                                              Middle name

       Bring your picture               Kassas
                                        __________________________________________________       __________________________________________________
       identification to your meeting   Last name                                                Last name
       with the trustee.                ___________________________                              ___________________________
                                        Suffix (Sr., Jr., II, III)                               Suffix (Sr., Jr., II, III)




2.     All other names you              Tony
                                        __________________________________________________       __________________________________________________
       have used in the last 8          First name                                               First name
       years                            Joseph
                                        __________________________________________________       __________________________________________________
       Include your married or          Middle name                                              Middle name
       maiden names.                    Kassas
                                        __________________________________________________       __________________________________________________
                                        Last name                                                Last name

                                        __________________________________________________       __________________________________________________
                                        First name                                               First name

                                        __________________________________________________       __________________________________________________
                                        Middle name                                              Middle name

                                        __________________________________________________       __________________________________________________
                                        Last name                                                Last name




3.     Only the last 4 digits of
       your Social Security             xxx             9 ____
                                               – xx – ____  2 ____
                                                               7 ____
                                                                   9                            xxx    – xx – ____ ____ ____ ____
       number or federal                OR                                                      OR
       Individual Taxpayer
       Identification number            9 xx – xx – ____ ____ ____ ____                         9 xx – xx – ____ ____ ____ ____
       (ITIN)

Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
            Case 2:19-bk-24457-ER                        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                    Desc
                                                         Main Document Page 2 of 74
Debtor 1      Anthony     Joseph Kassas
              _______________________________________________________                            Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




                                         About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                         I have not used any business names or EINs.                 I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in              _________________________________________________            _________________________________________________
     the last 8 years                    Business name                                                Business name

     Include trade names and
                                         _________________________________________________            _________________________________________________
     doing business as names             Business name                                                Business name


                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                          EIN

                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                          EIN




5.   Where you live                                                                                   If Debtor 2 lives at a different address:


                                         21100 Sunwood Dr
                                         _________________________________________________            _________________________________________________
                                         Number     Street                                            Number     Street


                                         _________________________________________________            _________________________________________________


                                         Walnut                           CA      91789
                                         _________________________________________________            _________________________________________________
                                         City                            State   ZIP Code             City                            State   ZIP Code

                                         Los Angeles
                                         _________________________________________________            _________________________________________________
                                         County                                                       County


                                         If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                         above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                  any notices to this mailing address.


                                         1142 S Diamond Bar Blvd 118
                                         _________________________________________________            _________________________________________________
                                         Number     Street                                            Number     Street

                                         _________________________________________________            _________________________________________________
                                         P.O. Box                                                     P.O. Box

                                         Diamond Bar                      Ca      91765
                                         _________________________________________________            _________________________________________________
                                         City                            State   ZIP Code             City                            State   ZIP Code




6.   Why you are choosing                Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                            I have lived in this district longer than in any             I have lived in this district longer than in any
                                            other district.                                              other district.

                                          I have another reason. Explain.                             I have another reason. Explain.
                                            (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                            ________________________________________                     ________________________________________
                                            ________________________________________                     ________________________________________
                                            ________________________________________                     ________________________________________
                                            ________________________________________                     ________________________________________



Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
            Case 2:19-bk-24457-ER                        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                    Desc
                                                         Main Document Page 3 of 74
Debtor 1      Anthony Joseph Kassas
              _______________________________________________________                             Case number (if known)_____________________________________
              First Name   Middle Name             Last Name




Part 2:     Tell the Court About Your Bankruptcy Case


7.    The chapter of the                 Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                          Chapter 7
                                          Chapter 11
                                          Chapter 12
                                          Chapter 13

8.    How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                            local court for more details about how you may pay. Typically, if you are paying the fee
                                            yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                            submitting your payment on your behalf, your attorney may pay with a credit card or check
                                            with a pre-printed address.

                                          I need to pay the fee in installments. If you choose this option, sign and attach the
                                            Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                            By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                            less than 150% of the official poverty line that applies to your family size and you are unable to
                                            pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                            Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                  No
      bankruptcy within the
      last 8 years?                       Yes.    District __________________________ When      _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY

                                                   District __________________________ When      _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY

                                                   District __________________________ When      _______________ Case number ___________________________
                                                                                                 MM / DD / YYYY



10.   Are any bankruptcy                  No
      cases pending or being
      filed by a spouse who is            Yes.    Debtor _________________________________________________ Relationship to you       _____________________
      not filing this case with                    District __________________________ When      _______________ Case number, if known____________________
      you, or by a business                                                                      MM / DD / YYYY
      partner, or by an
      affiliate?
                                                   Debtor _________________________________________________ Relationship to you       _____________________

                                                   District __________________________ When      _______________ Case number, if known____________________
                                                                                                 MM / DD / YYYY



11.   Do you rent your                    No.     Go to line 12.
      residence?                          Yes.    Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                   residence?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                        this bankruptcy petition.



Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                    page 3
              Case 2:19-bk-24457-ER                             Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                     Desc
                                                                Main Document Page 4 of 74
Debtor 1         Anthony Joseph Kassas
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                  No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                 No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                     No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
              Case 2:19-bk-24457-ER                          Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                         Desc
                                                             Main Document Page 5 of 74
Debtor 1         Anthony Joseph Kassas
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
            Case 2:19-bk-24457-ER                          Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                         Desc
                                                           Main Document Page 6 of 74
Debtor 1        Anthony Joseph Kassas
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                     No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                              ______________________________________________              _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
           Case 2:19-bk-24457-ER                        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                        Desc
                                                        Main Document Page 7 of 74
Debtor 1      Anthony Joseph Kassas
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        _________________________________                                  Date           _________________
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           _________________________________________________________________________________________________
                                           Printed name

                                           _________________________________________________________________________________________________
                                           Firm name

                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________

                                           ______________________________________________________ ____________ ______________________________
                                           City                                                   State        ZIP Code




                                           Contact phone _____________________________________             Email address   ______________________________




                                           ______________________________________________________ ____________
                                           Bar number                                             State




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
           Case 2:19-bk-24457-ER                       Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                  Desc
                                                       Main Document Page 8 of 74
Debtor 1     Anthony Joseph Kassas
             _______________________________________________________                           Case number (if known)_____________________________________
             First Name   Middle Name            Last Name




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   should understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.
                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                             No
                                             Yes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                             No
                                             Yes

                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                             No
                                             Yes. Name of Person_____________________________________________________________________.
                                                   Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.


                                        
                                        _______________________________________________               ______________________________
                                            Signature of Debtor 1                                       Signature of Debtor 2

                                        Date                 _________________                          Date            _________________
                                                             MM / DD / YYYY                                             MM / DD / YYYY

                                        Contact phone ______________________________________            Contact phone   ________________________________

                                        Cell phone           ______________________________________     Cell phone      ________________________________

                                        Email address ______________________________________            Email address    ________________________________



Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 8
          Case 2:19-bk-24457-ER                   Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                     Desc
                                                  Main Document Page 9 of 74



                             STATEMENT OF RELATED CASES
                          INFORMATION REQUIRED BY LBR 1015-2
           UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
    N/A



2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
    N/A



3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
    N/A



4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such
   prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
    N/A



I declare, under penalty of perjury, that the foregoing is true and correct.



Executed at Walnut                          , California
                                                                                       Signature of Debtor 1

Date:
                                                                                       Signature of Debtor 2


          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                          Page 1                    F 1015-2.1.STMT.RELATED.CASES
              Case 2:19-bk-24457-ER                                Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                             Desc
                                                                   Main Document Page 10 of 74

 Fill in this information to identify your case:

 Debtor 1           Anthony Joseph Kassas
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the: Central District
                                         __________ Districtof California
                                                            of __________

 Case number         ___________________________________________                                                                                                             Check if this is an
                     (If known)                                                                                                                                                amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................
                                                                                                                                                                                        0.00
                                                                                                                                                                            $ ________________



   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                    3063.00
                                                                                                                                                                            $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................
                                                                                                                                                                                   3063.00
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                         $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................
                                                                                                                                                                                302790.77
                                                                                                                                                                            $ ________________


   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                        +         96089.42
                                                                                                                                                                            $ ________________


                                                                                                                                       Your total liabilities                   398880.19
                                                                                                                                                                            $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................
                                                                                                                                                                                        0.00
                                                                                                                                                                            $ ________________


5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................                     2648.00
                                                                                                                                                                            $ ________________




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 1 of 2
                 Case 2:19-bk-24457-ER                     Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                     Desc
                                                           Main Document Page 11 of 74
   Debtor 1        Anthony  Joseph Kassas
                   _______________________________________________________                            Case number (if known)_____________________________________
                    First Name     Middle Name        Last Name




   Part 4:        Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
        Yes

   7. What kind of debt do you have?

        Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       5225.00
                                                                                                                                          $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                               Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)                                                                            0
                                                                                                               $_____________________



       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        22151.61
                                                                                                               $_____________________


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                         0
                                                                                                               $_____________________



       9d. Student loans. (Copy line 6f.)                                                                               63538.00
                                                                                                               $_____________________


       9e. Obligations arising out of a separation agreement or divorce that you did not report as                                 0
                                                                                                               $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +                       0
                                                                                                               $_____________________



       9g. Total. Add lines 9a through 9f.                                                                     $_____________________




Official Form 106Sum         Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of 2
                Case 2:19-bk-24457-ER                      Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                   Desc
                                                           Main Document Page 12 of 74
Fill in this information to identify your case and this filing:


Debtor 1           Anthony Joseph Kassas
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


United States Bankruptcy Court for the: Central District
                                        __________ Districtof California
                                                           of ___________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                         $________________        $_______________
                                                                     Investment property
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________
                                                                                                                   the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 
                                                                  Debtor 1 only
             _________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1
             Case 2:19-bk-24457-ER                         Doc 1         Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
Debtor 1      Anthony   Joseph Kassas            Main Document
               _______________________________________________________             Page 13 Case
                                                                                            of 74
                                                                                                number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                          Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare                                           Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                    Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                             (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                             0.00
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
    Yes

   3.1.    Make:                       Hummer
                                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put

           Model:                      H3
                                      ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                       2006                      
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                412,000                                                                                  entire property?          portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                                                                                  1500.00                   1500.00
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                         Current value of the
                                                                                                                         entire property?
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                   page 2
               Case 2:19-bk-24457-ER                                  Doc 1            Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
Debtor 1         Anthony   Joseph Kassas            Main Document
                  _______________________________________________________                        Page 14 Case
                                                                                                          of 74
                                                                                                              number (if known)_____________________________________
                  First Name         Middle Name                Last Name




           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.3.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)


           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.4.

           Model:                           ______________
                                                                            
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
                                                                                                                                                      entire property?                portion you own?
           Approximate mileage: ____________                                
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   No
    Yes

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.1.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
           Other information:                                               
                                                                             At least one of the debtors and another                                  entire property?                portion you own?

                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.2.

           Model: ____________________                                      
                                                                             Debtor 1 only
                                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________                                                                                                                  Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                      entire property?                portion you own?
           Other information:                                               
                                                                             At least one of the debtors and another

                                                                                                                                                      $________________               $________________
                                                                             Check if this is community property (see
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                           1500.00
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ 




Official Form 106A/B                                                         Schedule A/B: Property                                                                                         page 3
                Case 2:19-bk-24457-ER                                        Doc 1              Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
Debtor 1          Anthony   Joseph Kassas            Main Document
                   _______________________________________________________                                Page 15 Case
                                                                                                                   of 74
                                                                                                                       number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
                                        Bedroom furniture (bed, dresser, desk)
       Yes. Describe. ........                                                                                                                                                                              500.00
                                                                                                                                                                                                $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
       Yes. Describe. .........
                                        Iphone 7, 10 year old laptop computer, 50' TCL T.V.
                                                                                                                                                                                                             500.00
                                                                                                                                                                                                $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
    Yes. Describe. .........                                                                                                                                                                   $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
       No
       Yes. Describe. .........                                                                                                                                                                $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes. Describe. ..........                                                                                                                                                                  $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
                                  business                dress attire, work clothes, everyday clothes
       Yes. Describe. ..........                                                                                                                                                                            500.00
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
       Yes. Describe. ..........                                                                                                                                                               $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

       No
       Yes. Describe. ..........                                                                                                                                                               $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

       No
       Yes. Give specific
                                                                                                                                                                                                $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                               1500.00
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... 



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 4
               Case 2:19-bk-24457-ER                                                Doc 1                 Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
Debtor 1          Anthony   Joseph Kassas            Main Document
                   _______________________________________________________                                          Page 16 Case
                                                                                                                             of 74
                                                                                                                                 number (if known)_____________________________________
                    First Name             Middle Name                      Last Name




Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                     Current value of the
                                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                                or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No
     Yes ................................................................................................................................................................    Cash: .......................                 60.00
                                                                                                                                                                                                                 $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes .....................                                                               Institution name:


                                            17.1. Checking account:                            Wells Fargo
                                                                                               _________________________________________________________                                                                       3.00
                                                                                                                                                                                                                 $__________________

                                            17.2. Checking account:                            _________________________________________________________                                                         $__________________

                                            17.3. Savings account:                             Wells Fargo
                                                                                               _________________________________________________________                                                                       0.00
                                                                                                                                                                                                                 $__________________

                                            17.4. Savings account:                             _________________________________________________________                                                         $__________________

                                            17.5. Certificates of deposit:                     _________________________________________________________                                                         $__________________

                                            17.6. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.7. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.8. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.9. Other financial account:                     _________________________________________________________                                                         $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes .................                Institution or issuer name:

                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

    No                                     Name of entity:                                                                                                                     % of ownership:
   Yes. Give specific                     _____________________________________________________________________                                                               ___________%                     $__________________
       information about
       them.........................        _____________________________________________________________________                                                               ___________%                     $__________________
                                            _____________________________________________________________________                                                               ___________%                     $__________________




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                          page 5
               Case 2:19-bk-24457-ER                                 Doc 1         Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
Debtor 1        Anthony   Joseph Kassas            Main Document
                 _______________________________________________________                     Page 17 Case
                                                                                                      of 74
                                                                                                          number (if known)_____________________________________
                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 No
 Yes. Give specific                   Issuer name:
       information about
       them.......................      ______________________________________________________________________________________              $__________________
                                        ______________________________________________________________________________________
                                                                                                                                            $__________________
                                        ______________________________________________________________________________________
                                                                                                                                            $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________       $__________________

                                        Pension plan:             ___________________________________________________________________       $__________________

                                        IRA:                      ___________________________________________________________________       $__________________

                                        Retirement account:       ___________________________________________________________________       $__________________

                                        Keogh:                    ___________________________________________________________________       $__________________

                                        Additional account:       ___________________________________________________________________       $__________________

                                        Additional account:       ___________________________________________________________________       $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

      No
      Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________        $___________________
                                        Gas:                  ______________________________________________________________________        $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                            $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                            $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                            $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                            $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                            $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                            $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                            $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

      No
      Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________            $__________________
                                        _______________________________________________________________________________________             $__________________
                                        _______________________________________________________________________________________             $__________________


Official Form 106A/B                                                       Schedule A/B: Property                                                     page 6
              Case 2:19-bk-24457-ER                                  Doc 1       Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
Debtor 1        Anthony   Joseph Kassas            Main Document
                 _______________________________________________________                   Page 18 Case
                                                                                                    of 74
                                                                                                        number (if known)_____________________________________
                  First Name            Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                                 0
                                                                                                                                                       $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

      No
      Yes. Give specific
       information about them. ...                                                                                                                                      0
                                                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific
       information about them. ...                                                                                                                                      0
                                                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

      No
      Yes. Give specific
       information about them. ...                                                                                                                                      0
                                                                                                                                                       $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you

      No
      Yes. Give specific information                                                                                        Federal:                              0
                                                                                                                                                   $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information. .............
                                                                                                                            Alimony:                                  0
                                                                                                                                                       $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information. ..............
                                                                                                                                                                            0
                                                                                                                                                       $______________________



Official Form 106A/B                                                       Schedule A/B: Property                                                                page 7
                Case 2:19-bk-24457-ER                                        Doc 1              Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
Debtor 1          Anthony   Joseph Kassas            Main Document
                   _______________________________________________________                                Page 19 Case
                                                                                                                   of 74
                                                                                                                       number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company             Company name:                                                                             Beneficiary:                                       Surrender or refund value:
             of each policy and list its value. ...
                                                                    ___________________________________________ ____________________________                                                                      0
                                                                                                                                                                                                 $__________________
                                                                    ___________________________________________ ____________________________                                                                      0
                                                                                                                                                                                                 $__________________
                                                                    ___________________________________________ ____________________________                                                                      0
                                                                                                                                                                                                 $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
       No
       Yes. Give specific information. .............
                                                                                                                                                                                                                     0
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                                      0
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
       No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                                     0
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list

       No
       Yes. Give specific information............                                                                                                                                                                   0
                                                                                                                                                                                                 $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................                     63.00
                                                                                                                                                                                                 $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned

      No
       Yes. Describe .......
                                                                                                                                                                                                                    0
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                                       0
                                                                                                                                                                                               $_____________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 8
                Case 2:19-bk-24457-ER                                        Doc 1              Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
Debtor 1          Anthony   Joseph Kassas            Main Document
                   _______________________________________________________                                Page 20 Case
                                                                                                                   of 74
                                                                                                                       number (if known)_____________________________________
                    First Name            Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......                                                                                                                                                                                       0
                                                                                                                                                                                               $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                                       0
                                                                                                                                                                                               $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                      % of ownership:
                                         ______________________________________________________________________                                                    ________%                                        0
                                                                                                                                                                                               $_____________________
                                         ______________________________________________________________________                                                    ________%                                        0
                                                                                                                                                                                               $_____________________
                                         ______________________________________________________________________                                                    ________%                                        0
                                                                                                                                                                                               $_____________________


43. Customer lists, mailing lists, or other compilations
       No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe. .......
                                                                                                                                                                                                                    0
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                            $____________________
        information .........
                                         ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________

                                         ______________________________________________________________________________________                                                                 $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                                   0.00
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... 




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ..........................

                                                                                                                                                                                                 $___________________



Official Form 106A/B                                                                 Schedule A/B: Property                                                                                                 page 9
                   Case 2:19-bk-24457-ER                                         Doc 1               Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
 Debtor 1            Anthony   Joseph Kassas            Main Document
                      _______________________________________________________                                  Page 21 Case
                                                                                                                        of 74
                                                                                                                            number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                      $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ..........................
                                                                                                                                                                                                          $___________________

51. Any farm- and commercial fishing-related property you did not already list
         No
          Yes. Give specific
           information. ............                                                                                                                                                                                       00
                                                                                                                                                                                                          $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                           0.00
                                                                                                                                                                                                          $___________________
     for Part 6. Write that number here .................................................................................................................................................... 



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

          No
                                                                                                                                                                                                                          0
                                                                                                                                                                                                           $________________
          Yes. Give specific
           information. ............                                                                                                                                                                        $________________
                                                                                                                                                                                                            $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                                  0.00
                                                                                                                                                                                                            $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..............................................................................................................................................................                 0.00
                                                                                                                                                                                                          $________________

56. Part 2: Total vehicles, line 5                                                                                         1500.00
                                                                                                                  $________________

57. Part 3: Total personal and household items, line 15                                                                    1500.00
                                                                                                                  $________________

58. Part 4: Total financial assets, line 36                                                                                  63.00
                                                                                                                  $________________

59. Part 5: Total business-related property, line 45                                                                          0.00
                                                                                                                  $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                                 0.00
                                                                                                                  $________________

61. Part 7: Total other property not listed, line 54                                                                        0.00
                                                                                                              + $________________
62. Total personal property. Add lines 56 through 61. ....................                                                 3063.00 Copy personal property total 
                                                                                                                  $________________                                                                                 3063.00
                                                                                                                                                                                                         + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                                         3063.00
                                                                                                                                                                                                          $_________________



 Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                   page 10
               Case 2:19-bk-24457-ER                        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                      Desc
                                                            Main Document Page 22 of 74
 Fill in this information to identify your case:

 Debtor 1           Anthony Joseph Kassas
                   __________________________________________________________________
                     First Name               Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                Last Name


 United States Bankruptcy Court for the: Central District
                                         __________ Districtof California
                                                            of __________

 Case number
  (If known)
                     ___________________________________________                                                                              Check if this is an
                                                                                                                                                 amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                               4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                 portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

      Brief                                                                                                                       11 U.S.C. § 522(b)(3)
                                                                                                                                  ____________________________
      description:            2006 Hummer H3
                             _________________________        1500.00
                                                             $________________             $ ____________                        ____________________________
      Line from                                                                            100% of fair market value, up to      ____________________________
                    3.1
      Schedule A/B: ______                                                                   any applicable statutory limit      ____________________________


      Brief                                                                                                                       11 U.S.C. § 522(b)(3)
                                                                                                                                  ____________________________
      description:            bedroom furniture
                             _________________________        500.00
                                                             $________________             $ ____________                        ____________________________
      Line from                                                                            100% of fair market value, up to      ____________________________
                    6
                    ______                                                                   any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                       11 U.S.C. § 522(b)(3)
                                                                                                                                  ____________________________
      description:
                              electronics
                             _________________________        500.00
                                                             $________________             $ ____________                        ____________________________
      Line from                                                                            100% of fair market value, up to      ____________________________
                    7
      Schedule A/B: ______                                                                   any applicable statutory limit       ____________________________


 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                             page 1 of __
           Case 2:19-bk-24457-ER               Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
Debtor 1      Anthony Joseph Kassas            Main    Document Page 23 Case
             _______________________________________________________
                                                                         of 74
                                                                             number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief                                                                                                             11 U.S.C. § 522(b)(3)
                                                                                                                       ____________________________
                           clothes
                          _________________________               500.00
                                                        $________________       $ ____________
     description:                                                                                                      ____________________________
     Line from     11
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief
                                                                                                                       11 U.S.C. § 522(b)(3)
                                                                                                                       ____________________________
     description:
                           cash
                          _________________________                 60.00
                                                        $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
     Schedule A/B:
                   16
                   ______                                                         any applicable statutory limit       ____________________________


     Brief                                                                                                             11 U.S.C. § 522(b)(3)
                                                                                                                       ____________________________
                           deposits
                          _________________________                  3.00
                                                        $________________       $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   17
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                       page ___ of __
                  Case 2:19-bk-24457-ER                         Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                               Desc
                                                                Main Document Page 24 of 74
Fill in this information to identify your case:

 Debtor 1           Anthony Joseph Kassas
                    __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: Central District
                                         __________ Districtof California
                                                            of __________

 Case number         ___________________________________________
 (If known)                                                                                                                                               Check if this is an
                                                                                                                                                             amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                          State   ZIP Code           Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
2.2
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                               Contingent
      ______________________________________                   Unliquidated
      City                          State   ZIP Code           Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
       Debtor 1 only                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                           car loan)
       Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another                Judgment lien from a lawsuit
                                                               Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                               $________________


Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of ___
                Case 2:19-bk-24457-ER                      Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                               Desc
                                                           Main Document Page 25 of 74
 Debtor 1         Anthony  Joseph Kassas
                  _______________________________________________________                                Case number (if known)_____________________________________
                   First Name     Middle Name         Last Name




               Additional Page                                                                                        Column A               Column B              Column C
Part 1:                                                                                                               Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                                              that supports this    portion
                                                                                                                      Do not deduct the
               by 2.4, and so forth.                                                                                  value of collateral.   claim                 If any
2.3                                                   Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________          As of the date you file, the claim is: Check all that apply.
      ______________________________________              Contingent
      City                        State    ZIP Code       Unliquidated
                                                          Disputed
  Who owes the debt? Check one.                       Nature of lien. Check all that apply.
       Debtor 1 only                                     An agreement you made (such as mortgage or secured
       Debtor 2 only                                      car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another           Judgment lien from a lawsuit
                                                          Other (including a right to offset) ____________________
       Check if this claim relates to a
        community debt

  Date debt was incurred ____________                 Last 4 digits of account number ___ ___ ___ ___

2.4                                                   Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                      As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                          Contingent
      ______________________________________              Unliquidated
      City                        State    ZIP Code
                                                          Disputed
  Who owes the debt? Check one.
                                                      Nature of lien. Check all that apply.
       Debtor 1 only
                                                          An agreement you made (such as mortgage or secured
       Debtor 2 only                                      car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another           Judgment lien from a lawsuit

       Check if this claim relates to a
                                                          Other (including a right to offset) ____________________
        community debt

  Date debt was incurred ____________                 Last 4 digits of account number ___ ___ ___ ___

2.5   ______________________________________          Describe the property that secures the claim:                   $_________________ $________________ $____________
      Creditor’s Name

      ______________________________________
      Number            Street

      ______________________________________          As of the date you file, the claim is: Check all that apply.
      ______________________________________              Contingent
      City                        State    ZIP Code       Unliquidated
                                                          Disputed
  Who owes the debt? Check one.                       Nature of lien. Check all that apply.
       Debtor 1 only                                     An agreement you made (such as mortgage or secured
       Debtor 2 only                                      car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another           Judgment lien from a lawsuit
                                                          Other (including a right to offset) ____________________
       Check if this claim relates to a
        community debt
  Date debt was incurred ____________                 Last 4 digits of account number ___ ___ ___ ___

             Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
             If this is the last page of your form, add the dollar value totals from all pages.
             Write that number here:                                                                                  $_________________

 Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___ of ___
            Case 2:19-bk-24457-ER                    Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                       Desc
                                                     Main Document Page 26 of 74
Debtor 1     Anthony  Joseph Kassas
             _______________________________________________________                            Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

2.6                                                                                        On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

2.7                                                                                        On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

2.8                                                                                        On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

2.9                                                                                        On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

3.0                                                                                        On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

3.1                                                                                        On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



Official Form 106D                         Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___ of ___
                    Case 2:19-bk-24457-ER                            Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                       Desc
  Fill in this information to identify your case:                    Main Document Page 27 of 74

      Debtor 1          Anthony Joseph Kassas
                        __________________________________________________________________
                          First Name                   Middle Name               Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name               Last Name


      United States Bankruptcy Court for the: __________
                                              Central District       of __________
                                                               of California
                                                            District

      Case number         ___________________________________________
                                                                                                                                                        Check if this is an
      (If known)                                                                                                                                           amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim   Priority     Nonpriority
                                                                                                                                                      amount       amount
2.1
            State Bar of California
           ____________________________________________                                                  9 ___
                                                                        Last 4 digits of account number ___ 7 ___
                                                                                                               3 ___
                                                                                                                  0                  280639.16 $___________
                                                                                                                                   $_____________ 61112.27 $____________
                                                                                                                                                            219526.89
           Priority Creditor’s Name
            180 Howard St.
           ____________________________________________                 When was the debt incurred?          2011-2018
                                                                                                             ____________
           Number            Street
           ____________________________________________
                                                                        As of the date you file, the claim is: Check all that apply.
           San Francisco             CA
           ____________________________________________                    Contingent
           City                                State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.
                                                                           Disputed
                 Debtor 1 only
                 Debtor 2 only                                         Type of PRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                           Domestic support obligations
                 At least one of the debtors and another
                                                                           Taxes and certain other debts you owe the government
                 Check if this claim is for a community debt              Claims for death or personal injury while you were
           Is the claim subject to offset?                                  intoxicated
                 No                                                                       judgment
                                                                            Other. Specify _________________________________
                 Yes
2.2         Internal Revenue Service                                                                     9 ___
                                                                                                            2 ___
                                                                                                               7 ___
                                                                                                                  9                         2836.66 $___________
                                                                                                                                                      2836.66 $____________
                                                                                                                                                                         0
           ____________________________________________                 Last 4 digits of account number ___                            $_____________
           Priority Creditor’s Name
                                                                        When was the debt incurred?          2014
                                                                                                             ____________
           ____________________________________________
           Number            Street
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.

           0.00                      UT 84201
           ____________________________________________
                                                                           Contingent
           City                                State    ZIP Code           Unliquidated
           Who incurred the debt? Check one.                               Disputed
                 Debtor 1 only
                                                                        Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                           Domestic support obligations
                 Debtor 1 and Debtor 2 only
                 At least one of the debtors and another
                                                                           Taxes and certain other debts you owe the government
                                                                           Claims for death or personal injury while you were
                 Check if this claim is for a community debt               intoxicated
           Is the claim subject to offset?                                 Other. Specify _________________________________
                 No
                 Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
                Case  2:19-bk-24457-ER
                 Anthony Joseph Kassas                        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
 Debtor 1           _______________________________________________________
                    First Name     Middle Name                Main Document Page 28 Case
                                                        Last Name
                                                                                         number (if known)_____________________________________
                                                                                     of 74
 Part 1:            Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                            Total claim   Priority   Nonpriority
                                                                                                                                                 amount     amount

2.3
       Internal Revenue Service
       ____________________________________________                                                  9 ___
                                                                    Last 4 digits of account number ___ 2 ___
                                                                                                           7 ___
                                                                                                              9                       6086.89 $__________
                                                                                                                                   $____________ 6086.89 $____________
                                                                                                                                                                    0
       Priority Creditor’s Name

       ____________________________________________                 When was the debt incurred?          2015
                                                                                                         ____________
       Number            Street

       ____________________________________________                 As of the date you file, the claim is: Check all that apply.

       Ogden                    UT      84201
       ____________________________________________
                                                                       Contingent
       City                                State   ZIP Code            Unliquidated
                                                                       Disputed
       Who incurred the debt? Check one.
             Debtor 1 only                                         Type of PRIORITY unsecured claim:
             Debtor 2 only
                                                                       Domestic support obligations
             Debtor 1 and Debtor 2 only
                                                                       Taxes and certain other debts you owe the government
             At least one of the debtors and another
                                                                       Claims for death or personal injury while you were
             Check if this claim is for a community debt               intoxicated
                                                                       Other. Specify _________________________________

       Is the claim subject to offset?
             No
             Yes

2.4
       Internal Revenue Service
       ____________________________________________                                                  9 ___
                                                                    Last 4 digits of account number ___ 2 ___
                                                                                                           7 ___
                                                                                                              9                       1302.04 $__________
                                                                                                                                   $____________ 1302.04 $____________
                                                                                                                                                                    0
       Priority Creditor’s Name

       ____________________________________________                 When was the debt incurred?           2016
                                                                                                         ____________
       Number            Street

       ____________________________________________                 As of the date you file, the claim is: Check all that apply.

       Ogden                    UT      84201
       ____________________________________________
                                                                       Contingent
       City                                State   ZIP Code            Unliquidated
                                                                       Disputed
       Who incurred the debt? Check one.
             Debtor 1 only                                         Type of PRIORITY unsecured claim:
             Debtor 2 only
                                                                       Domestic support obligations
             Debtor 1 and Debtor 2 only
                                                                       Taxes and certain other debts you owe the government
             At least one of the debtors and another
                                                                       Claims for death or personal injury while you were
             Check if this claim is for a community debt               intoxicated
                                                                       Other. Specify _________________________________

       Is the claim subject to offset?
             No
             Yes
2.50
       Internal Revenue Service
       ____________________________________________                                                  9 ___
                                                                    Last 4 digits of account number ___ 2 ___
                                                                                                           7 ___
                                                                                                              9                      11926.02 $__________
                                                                                                                                   $____________ 11926.02 $____________
                                                                                                                                                                     0
       Priority Creditor’s Name

       ____________________________________________                 When was the debt incurred?          2018
                                                                                                         ____________
       Number            Street

       ____________________________________________                 As of the date you file, the claim is: Check all that apply.

       Ogden                    UT      84201
       ____________________________________________
                                                                       Contingent
       City                                State   ZIP Code            Unliquidated
                                                                       Disputed
       Who incurred the debt? Check one.
             Debtor 1 only                                         Type of PRIORITY unsecured claim:
             Debtor 2 only
                                                                       Domestic support obligations
             Debtor 1 and Debtor 2 only
                                                                       Taxes and certain other debts you owe the government
             At least one of the debtors and another
                                                                       Claims for death or personal injury while you were
             Check if this claim is for a community debt               intoxicated
                                                                       Other. Specify _________________________________

       Is the claim subject to offset?
             No
             Yes


Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __ of ___
                Case  2:19-bk-24457-ER
                 Anthony Joseph Kassas                          Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
 Debtor 1           _______________________________________________________
                    First Name       Middle Name                Main Document Page 29 Case
                                                           Last Name
                                                                                           number (if known)_____________________________________
                                                                                       of 74
 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.1
       Orthopedic Specialty Institute
       _____________________________________________________________                                               1 ___
                                                                                  Last 4 digits of account number ___ 4 ___
                                                                                                                         6 ___
                                                                                                                            7
       Nonpriority Creditor’s Name
                                                                                                                                                                    196.97
                                                                                                                                                          $__________________
                                                                                  When was the debt incurred?           2016
                                                                                                                        ____________
       280 South Main St. Ste 200
       _____________________________________________________________
       Number            Street

       Orange                              CA         92868
       _____________________________________________________________
       City                                             State          ZIP Code   As of the date you file, the claim is: Check all that apply.

                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
             Debtor 1 only                                                          Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                Student loans

             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
             No                                                                                     medical
                                                                                      Other. Specify ______________________________________
             Yes

4.2    Navient                                                                                                     1 ___
                                                                                  Last 4 digits of account number ___ 4 ___
                                                                                                                         1 ___
                                                                                                                            0                                    58791.00
                                                                                                                                                          $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           2001-2003
                                                                                                                        ____________
       PO Box 9655
       _____________________________________________________________
       Number            Street
       Wilkes-Barre                        PA         18773                       As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated

             Debtor 1 only
                                                                                     Disputed

             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                Student loans
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                             that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts

             No                                                                     Other. Specify ______________________________________

             Yes

4.3
       Navient
       _____________________________________________________________                                               3 ___
                                                                                  Last 4 digits of account number ___ 2 ___
                                                                                                                          9 ___
                                                                                                                              4                                    4747.00
       Nonpriority Creditor’s Name                                                                                                                        $_________________
                                                                                  When was the debt incurred?            2003
                                                                                                                        ____________
       PO Box 9655
       _____________________________________________________________
       Number            Street
       Wilkes-Barre                        PA         18773
       _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code

                                                                                     Contingent
       Who incurred the debt? Check one.
                                                                                     Unliquidated
             Debtor 1 only
                                                                                     Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                                     Student loans
             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
             No
                                                                                     Other. Specify ______________________________________
             Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __ of ___
               Case  2:19-bk-24457-ER
                Anthony Joseph Kassas                          Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
 Debtor 1          _______________________________________________________
                   First Name       Middle Name                Main Document Page 30 Case
                                                          Last Name
                                                                                          number (if known)_____________________________________
                                                                                      of 74

 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                    Total claim


4.4
      Portfolio Recovery Associates, LLC                                           Last 4 digits of account number ___ ___ ___ ___                            2135.57
      _____________________________________________________________                                                                                        $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          06/20/2016
                                                                                                                        ____________
      120 Corporate Blvd
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Norfolk                             VA
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                                LA county jdmt Case #17N14750
                                                                                       Other. Specify________________________________
            No
            Yes



4.5
      St. Jude Medical Center                                                                                       1 ___
                                                                                   Last 4 digits of account number ___ 4 ___
                                                                                                                          3 ___
                                                                                                                             2                               30000.00
                                                                                                                                                           $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2016-2019
                                                                                                                        ____________
      PO Box 31001-1877
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Pasadena                            CA
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                                medical
                                                                                       Other. Specify________________________________
            No
            Yes


4.6                                                                                                                                                             218.88
                                                                                                                                                           $____________
      Beverly Radiology Medical Group                                                                               0 ___
                                                                                   Last 4 digits of account number ___ 2 ___
                                                                                                                          7 ___
                                                                                                                             6
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2018
                                                                                                                        ____________
      PO Box 101418
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Pasadena                            CA         91110
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                                medical
                                                                                       Other. Specify________________________________
            No
            Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                               page __ of ___
             Case  2:19-bk-24457-ER
              Anthony Joseph Kassas                      Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
 Debtor 1       _______________________________________________________
                First Name    Middle Name                Main Document Page 31 Case
                                                    Last Name
                                                                                    number (if known)_____________________________________
                                                                                of 74
 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Pioneer Credit Recovery
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      PO Box 500
      _____________________________________________________
                                                                                2.2-6of (Check one):
                                                                           Line _____                      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
      _____________________________________________________
                                                                                                            2 ___
                                                                           Last 4 digits of account number ___ 3 ___
                                                                                                                  3 ___
                                                                                                                     9
      Horseheads                       NY       14845
      _____________________________________________________
      City                                  State               ZIP Code

      Franchise Tax Board
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      PO Box 1328
      _____________________________________________________
                                                                                2.1 of (Check one):
                                                                           Line _____                      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      Rancho Cordova                    CA      95741
      _____________________________________________________                                                 9 ___
                                                                           Last 4 digits of account number ___ 7 ___
                                                                                                                  3 ___
                                                                                                                     0
      City                                  State               ZIP Code


       Continental Credit Control
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       PO Box 30348
      _____________________________________________________
                                                                                 4.6 of (Check one):
                                                                           Line _____                      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

       Santa Barbara                    CA       93130
      _____________________________________________________                                                 6 ___
                                                                           Last 4 digits of account number ___ 0 ___
                                                                                                                  3 ___
                                                                                                                     0
      City                                  State               ZIP Code

       Collection Consultants of California
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       6100 San Fernando Road Suite 211
      _____________________________________________________
                                                                                 4.5 of (Check one):
                                                                           Line _____                      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

       Glendale                         CA       91209
      _____________________________________________________                                                 8 ___
                                                                           Last 4 digits of account number ___ 2 ___
                                                                                                                  5 ___
                                                                                                                     1
      City                                  State               ZIP Code


      Hunt & Henriques
      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      151 Bernal Road
      _____________________________________________________
                                                                                4.4 of (Check one):
                                                                           Line _____                      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      Suite 8
      _____________________________________________________
                                                                           Claims

      San Jose                          CA      95119
      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________                Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________
      City                                  State               ZIP Code
                                                                           Last 4 digits of account number ___ ___ ___ ___


Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
           Case  2:19-bk-24457-ER
            Anthony Joseph Kassas                       Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33 Desc
Debtor 1       _______________________________________________________
               First Name    Middle Name                Main Document Page 32 Case
                                                 Last Name
                                                                                   number (if known)_____________________________________
                                                                               of 74

Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim



Total claims
                6a. Domestic support obligations                                6a.                             0
                                                                                        $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                  6b.                    22151.61
                                                                                        $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                 6c.                             0
                                                                                        $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d.
                                                                                      + $_________________________
                                                                                                     280639.16


                6e. Total. Add lines 6a through 6d.                             6e.
                                                                                                     302790.77
                                                                                        $_________________________



                                                                                        Total claim

                6f. Student loans                                               6f.                    63538.00
Total claims                                                                             $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                      6g.                              0
                                                                                         $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                               6h.                             0
                                                                                        $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                     6i.                   32551.42
                                                                                      + $_________________________

                6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                       96089.42
                                                                                         $_________________________




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                               page __ of ___
               Case 2:19-bk-24457-ER                        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                  Desc
                                                            Main Document Page 33 of 74
 Fill in this information to identify your case:

 Debtor                Anthony Joseph Kassas
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                         Central District
 United States Bankruptcy Court for the: __________ District ofof California
                                                               ________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of ___
             Case 2:19-bk-24457-ER                 Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                            Desc
                                                   Main Document Page 34 of 74
 Debtor 1     Anthony   Joseph Kassas
               _______________________________________________________               Case number (if known)_____________________________________
               First Name   Middle Name       Last Name




              Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                What the contract or lease is for

    6
  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code

   7
  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


   8
  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


   9
  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


   10
  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


   11
  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street
        _____________________________________________________________________
        City                         State   ZIP Code


   12
  2._
        _____________________________________________________________________
        Name

        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code


   13
  2._
        _____________________________________________________________________
        Name
        _____________________________________________________________________
        Number     Street

        _____________________________________________________________________
        City                         State   ZIP Code



Official Form 106G                        Schedule G: Executory Contracts and Unexpired Leases                                  page ___ of ___
                Case 2:19-bk-24457-ER                               Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                            Desc
                                                                    Main Document Page 35 of 74
 Fill in this information to identify your case:

 Debtor 1          Anthony Joseph Kassas
                   __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                         Central District
 United States Bankruptcy Court for the: __________ District ofof California
                                                               ________

 Case number         ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1      Carol Kassas
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         21100 Sunwood Dr
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
                                                                                                                               4.2 & 4.3
         Number            Street                                                                          Schedule G, line ______
         Walnut                                   CA                    91789
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                          page 1 of ___
                Case 2:19-bk-24457-ER                 Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                               Desc
                  Anthony   Joseph Kassas
                                                      Main Document Page 36 of 74
 Debtor 1          _______________________________________________________                 Case number (if known)_____________________________________
                  First Name     Middle Name     Last Name




                  Additional Page to List More Codebtors

        Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:
   1
 3._
         ________________________________________________________________________________
         Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                    Schedule G, line ______
         ________________________________________________________________________________
         City                                         State                   ZIP Code

   2
 3._
         ________________________________________________________________________________
         Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                    Schedule G, line ______
         ________________________________________________________________________________
         City                                         State                   ZIP Code

   3
 3._
         ________________________________________________________________________________
         Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                    Schedule G, line ______
         ________________________________________________________________________________
         City                                         State                   ZIP Code

   4
 3._
         ________________________________________________________________________________
         Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                    Schedule G, line ______
         ________________________________________________________________________________
         City                                         State                   ZIP Code
   5
 3._
         ________________________________________________________________________________
         Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                    Schedule G, line ______
         ________________________________________________________________________________
         City                                         State                   ZIP Code
   6
 3._
         ________________________________________________________________________________
         Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                    Schedule G, line ______
         ________________________________________________________________________________
         City                                         State                   ZIP Code

   7
 3._
         ________________________________________________________________________________
         Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                    Schedule G, line ______
         ________________________________________________________________________________
         City                                         State                   ZIP Code
 3._8
         ________________________________________________________________________________
         Name
                                                                                                  Schedule D, line ______
                                                                                                 Schedule E/F, line ______
         ________________________________________________________________________________
         Number         Street                                                                    Schedule G, line ______
         ________________________________________________________________________________
         City                                         State                   ZIP Code




Official Form 106H                                            Schedule H: Your Codebtors                                              page ___ of ___
               Case 2:19-bk-24457-ER                      Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                Desc
                                                          Main Document Page 37 of 74
 Fill in this information to identify your case:


 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2             Anthony Joseph Kassas
                     ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                         Central District
 United States Bankruptcy Court for the: __________ District of  California
                                                             of ___________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
Official Form 106I                                                                                     ________________
                                                                                                       MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status             Employed                                        Employed
    employers.                                                         Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 consultant
                                                                    __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name            N/A
                                                                    __________________________________           __________________________________


                                         Employer’s address        _______________________________________     ________________________________________
                                                                    Number Street                               Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________
                                                                    City            State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.
                                                                                             $___________0.00          $____________

 3. Estimate and list monthly overtime pay.                                            3.   + $___________       +     $____________


 4. Calculate gross income. Add line 2 + line 3.                                       4.             0.00
                                                                                             $__________               $____________




Official Form 106I                                              Schedule I: Your Income                                                       page 1
             Case 2:19-bk-24457-ER                                   Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                     Desc
                                                                     Main Document Page 38 of 74
Debtor 1         _______________________________________________________                                                    Case number (if known)_____________________________________
                 First Name         Middle Name                Last Name



                                                                                                                           For Debtor 1             For Debtor 2 or
                                                                                                                                                    non-filing spouse

   Copy line 4 here...............................................................................................  4.     $___________0.00          $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.     $____________              $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.     $____________              $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.     $____________              $_____________
     5d. Required repayments of retirement fund loans                                                              5d.     $____________              $_____________
     5e. Insurance                                                                                                 5e.     $____________              $_____________
     5f. Domestic support obligations                                                                              5f.     $____________              $_____________

     5g. Union dues                                                                                                5g.     $____________              $_____________

     5h. Other deductions. Specify: __________________________________                                             5h.    + $____________        +    $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                     6.     $____________              $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                             7.                 0.00
                                                                                                                           $____________              $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                                 0
                                                                                                                           $____________              $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.     $____________     0        $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                                0
                                                                                                                           $____________              $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.     $____________        0     $_____________
     8e. Social Security                                                                                           8e.     $____________        0     $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                  $____________        0     $_____________

     8g. Pension or retirement income                                                                              8g.     $____________        0     $_____________

     8h. Other monthly income. Specify: _______________________________                                            8h.    + $____________ 0 + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                           9.               0.00
                                                                                                                           $____________              $_____________

10. Calculate monthly income. Add line 7 + line 9.                                                                                                                0.00 = $_____________
                                                                                                                                                                                    0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                     0.00
                                                                                                                           $___________     +         $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                        11.   +   $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                                         0.00
                                                                                                                                                                              $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                              12.
                                                                                                                                                                              Combined
                                                                                                                                                                              monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
          No.                 I expect to be fully employed as soon as possible. I am currently seeking full time employment.
          Yes. Explain:


Official Form 106I                                                                  Schedule I: Your Income                                                                     page 2
                 Case 2:19-bk-24457-ER                       Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                Desc
                                                             Main Document Page 39 of 74

   Fill in this information to identify your case:

   Debtor 1           Anthony Joseph Kassas
                     __________________________________________________________________
                       First Name              Middle Name             Last Name                       Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Central District
                                           __________ Districtof
                                                               of California
                                                                  __________                               expenses as of the following date:
                                                                                                           ________________
   Case number         ___________________________________________                                         MM / DD / YYYY
    (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

        No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
    Do not state the dependents’
                                                                                                                                               No
                                                                                    _________________________                ________
    names.                                                                                                                                     Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

 3. Do your expenses include
    expenses of people other than
                                                No
    yourself and your dependents?               Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                          Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                              700.00
                                                                                                                               $_____________________
      any rent for the ground or lot.                                                                                  4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                         4a.     $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                              4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                             4c.     $_____________________
      4d.    Homeowner’s association or condominium dues                                                               4d.     $_____________________

Official Form 106J                                              Schedule J: Your Expenses                                                         page 1
              Case 2:19-bk-24457-ER                     Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                             Desc
                                                        Main Document Page 40 of 74
 Debtor 1        Anthony   Joseph Kassas
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.                    75.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.                    50.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                   100.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________

 7. Food and housekeeping supplies                                                                            7.                    600.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.                     50.00
                                                                                                                     $_____________________
10. Personal care products and services                                                                       10.                    20.00
                                                                                                                     $_____________________
11. Medical and dental expenses                                                                               11.                    50.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                    300.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                    25.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.    $_____________________

15. Insurance.                                                                                                                                      1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.   $_____________________
      15b. Health insurance                                                                                   15b.                  503.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.                  175.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                       16.
                                                                                                                                         0
                                                                                                                     $_____________________

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.                       0
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       0
                                                                                                                     $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                          19.                       0
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.                       0
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.                       0
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.                       0
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.                       0
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.                       0
                                                                                                                     $_____________________



Official Form 106J                                             Schedule J: Your Expenses                                                   page 2
                 Case 2:19-bk-24457-ER                 Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                   Desc
                                                       Main Document Page 41 of 74
 Debtor 1        Anthony  Joseph Kassas
                 _______________________________________________________                        Case number (if known)_____________________________________
                  First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                           21.   +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.                   2648.00
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.     $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.                   2648.00
                                                                                                                          $_____________________



23. Calculate your monthly net income.
                                                                                                                                            0.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                  2648.00
                                                                                                                         – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                        -2648.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.      Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                                         page 3
               Case 2:19-bk-24457-ER                        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                Desc
                                                            Main Document Page 42 of 74

 Fill in this information to identify your case:

  Debtor 1          Anthony Joseph Kassas
                    __________________________________________________________________
                      First Name              Middle Name              Last Name                      Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: Central District
                                          __________       of California
                                                        District of __________                            expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)




Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2                                                                                             12/15

Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form
only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

Part 1:             Describe Your Household

1. Do you and Debtor 1 maintain separate households?

           No. Do not complete this form.
           Yes

2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 but list all           Yes. Fill out this information for Debtor 2:                                age           with you?
   other dependents of Debtor 2                 each dependent ..........................
   regardless of whether listed as a                                                                                                          No
                                                                                   _________________________                ________
   dependent of Debtor 1 on                                                                                                                   Yes
   Schedule J.
                                                                                   _________________________                ________          No
   Do not state the dependents’
   names.                                                                                                                                     Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself, your dependents, and              Yes
   Debtor 1?

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                          Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.     $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.     $_____________________

  Official Form 106J-2                           Schedule J-2: Expenses for Separate Household of Debtor 2                                           page 1
               Case 2:19-bk-24457-ER                     Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                             Desc
                                                         Main Document Page 43 of 74
 Debtor 1        Anthony   Joseph Kassas
                  _______________________________________________________                   Case number (if known)_____________________________________
                  First Name     Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                 5.


 6. Utilities:

       6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
       6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
       6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
       6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________

 7. Food and housekeeping supplies                                                                             7.     $_____________________

 8. Childcare and children’s education costs                                                                   8.     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.     $_____________________
10. Personal care products and services                                                                        10.    $_____________________
11. Medical and dental expenses                                                                                11.    $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      $_____________________
       Do not include car payments.                                                                            12.

13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
14.    Charitable contributions and religious donations                                                        14.    $_____________________

15. Insurance.                                                                                                                                      1

       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                     15a.   $_____________________
       15b. Health insurance                                                                                   15b.   $_____________________
       15c. Vehicle insurance                                                                                  15c.   $_____________________
       15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: ________________________________________________________                                       16.    $_____________________

17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                         17a.   $_____________________

       17b. Car payments for Vehicle 2                                                                         17b.   $_____________________

       17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

       17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.
                                                                                                                      $_____________________

19. Other payments you make to support others who do not live with you.

       Specify:_______________________________________________________                                          19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                        20a.   $_____________________

       20b. Real estate taxes                                                                                  20b.   $_____________________

       20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________

       20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________

       20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________



      Official Form 106J-2                      Schedule J-2: Expenses for Separate Household of Debtor 2                                     page 2
                 Case 2:19-bk-24457-ER                 Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                   Desc
                                                       Main Document Page 44 of 74
 Debtor 1        Anthony  Joseph Kassas
                 _______________________________________________________                        Case number (if known)_____________________________________
                  First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                            21.   +$_____________________

22.    Your monthly expenses. Add lines 5 through 21.
       The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the
       total expenses for Debtor 1 and Debtor 2.                                                                    22.   $_____________________



23. Line not used on this form.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.      Explain here:




      Official Form 106J-2                    Schedule J-2: Expenses for Separate Household of Debtor 2                                           page 3
                  Case 2:19-bk-24457-ER                      Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                      Desc
                                                             Main Document Page 45 of 74
Fill in this information to identify your case:

Debtor 1           Anthony Joseph Kassas
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


United States Bankruptcy Court for the: Central District
                                        __________ District of California
                                                            of __________

Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                       12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
        No
       
        Yes.           Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


         Date _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules
                 Case 2:19-bk-24457-ER                      Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                Desc
                                                            Main Document Page 46 of 74
   Fill in this information to identify your case:

   Debtor 1          Anthony Joseph Kassas
                     __________________________________________________________________
                       First Name             Middle Name                Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name                Last Name


   United States Bankruptcy Court for the: Central District
                                           __________ Districtof California
                                                              of ______________

   Case number         ___________________________________________
    (If known)                                                                                                                           Check if this is an
                                                                                                                                           amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                      4/16

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?


         Married
         Not married

   2. During the last 3 years, have you lived anywhere other than where you live now?

            No
            Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                        Dates Debtor 1       Debtor 2:                                             Dates Debtor 2
                                                                  lived there                                                                lived there

                                                                                        Same as Debtor 1                                      Same as Debtor 1

                  2126 Palmilla Court
                 __________________________________________       From 07/01/2016
                                                                        ________          ___________________________________________           From ________
                  Number    Street                                                        Number Street
                                                                  To      08/08/2019
                                                                           ________                                                             To    ________
                 __________________________________________                               ___________________________________________

                  Costa Mesa             CA 92627
                 __________________________________________                               ___________________________________________
                 City                    State ZIP Code                                   City                    State ZIP Code


                                                                                        Same as Debtor 1                                      Same as Debtor 1

                 __________________________________________       From     ________       ___________________________________________           From ________
                  Number    Street                                                        Number Street
                                                                  To       ________                                                             To    ________
                 __________________________________________                               ___________________________________________

                 __________________________________________                               ___________________________________________
                 City                    State ZIP Code                                   City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
            No
            Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



   Part 2: Explain the Sources of Your Income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
             Case 2:19-bk-24457-ER                        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                         Desc
                                                          Main Document Page 47 of 74
Debtor 1        Anthony   Joseph Kassas
                 _______________________________________________________                                 Case number (if known)_____________________________________
                 First Name     Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
         Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income          Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.      (before deductions and
                                                                                         exclusions)                                         exclusions)

                                                                Wages, commissions,                                 Wages, commissions,
            From January 1 of current year until
                                                                 bonuses, tips                 68850.00
                                                                                         $________________            bonuses, tips          $________________
            the date you filed for bankruptcy:
                                                                Operating a business                                Operating a business


            For last calendar year:                             Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips                 72645.00
                                                                                         $________________            bonuses, tips          $________________
            (January 1 to December 31, 2018
                                       _________)               Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:                  Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips                                        bonuses, tips
                                       2017
            (January 1 to December 31, _________)               Operating a business
                                                                                               24601.00
                                                                                         $________________
                                                                                                                     Operating a business
                                                                                                                                             $________________
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
          Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income         Gross income from
                                                            Describe below.              each source               Describe below.           each source
                                                                                         (before deductions and                              (before deductions and
                                                                                         exclusions)                                         exclusions)


                                                 __________________                     $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:   __________________                     $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
             Case 2:19-bk-24457-ER                         Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                  Desc
                                                           Main Document Page 48 of 74
Debtor 1      Anthony  Joseph Kassas
              _______________________________________________________                              Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                     _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
             Case 2:19-bk-24457-ER                            Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                     Desc
                                                              Main Document Page 49 of 74
Debtor 1        Anthony   Joseph Kassas
                 _______________________________________________________                             Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

          No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount     Amount you still    Reason for this payment
                                                                        payment       paid             owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.
                                                                       Dates of       Total amount     Amount you still    Reason for this payment
                                                                       payment        paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4
             Case 2:19-bk-24457-ER                                Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                       Desc
                                                                  Main Document Page 50 of 74
Debtor 1        Anthony  Joseph Kassas
                _______________________________________________________                                        Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
          Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                Status of the case
                                                                   civil lawsuit, judgment
                                                                                                         CA Suerior Ct. - Norwalk - Southeast
            Case title_____________________________
                                                                   creditor                             ________________________________________
                                                                                                        Court Name
                                                                                                                                                  Pending
                                                                   Judgment for $2,135.57
                                                                                                                                                           On appeal
            ____________________________________                                                         12720 Norwalk Blvd, Rm 101
                                                                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number       17N14750
                              ________________________                                                   Norwalk               CA 90650
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code




            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

          No. Go to line 11.
          Yes. Fill in the information below.

                                                                              Describe the property                                     Date         Value of the property



                 _________________________________________                                                                              __________    $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________     $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________
                 City                               State   ZIP Code
                                                                                  Property was garnished.
                                                                                  Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
              Case 2:19-bk-24457-ER                           Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                     Desc
                                                              Main Document Page 51 of 74
Debtor 1          Anthony   Joseph Kassas
                   _______________________________________________________                               Case number (if known)_____________________________________
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
          No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action      Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number      Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
          No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

          No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave       Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________          $_____________

           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________          $_____________


           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
              Case 2:19-bk-24457-ER                             Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                            Desc
                                                                Main Document Page 52 of 74
Debtor 1          Anthony   Joseph Kassas
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

          No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________         $_____________
           Charity’s Name


           _____________________________________                                                                                        _________         $_____________


           _____________________________________
           Number      Street



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

          No
          Yes. Fill in the details.

            Describe the property you lost and                     Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                       loss              lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________         $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
          Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                        transfer was
            ___________________________________
            Person Who Was Paid                                                                                                         made

            ___________________________________
            Number       Street                                                                                                         _________         $_____________

            ___________________________________
                                                                                                                                        _________         $_____________
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 7
             Case 2:19-bk-24457-ER                               Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                         Desc
                                                                 Main Document Page 53 of 74
Debtor 1        Anthony  Joseph Kassas
                _______________________________________________________                                      Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                    _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                    _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

          No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                    transfer was
            ____________________________________                                                                                    made
            Person Who Was Paid

            ____________________________________                                                                                    _________             $____________
            Number        Street

            ____________________________________
                                                                                                                                    _________             $____________
            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
          No
          Yes. Fill in the details.
                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                              _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                             _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
             Case 2:19-bk-24457-ER                              Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                          Desc
                                                                Main Document Page 54 of 74
Debtor 1        Anthony   Joseph Kassas
                 _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

          No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
          No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                       instrument                closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                   XXXX–___ ___ ___ ___                Checking                _________              $___________
            ____________________________________
            Number       Street
                                                                                                        Savings
            ____________________________________                                                        Money market
            ____________________________________
                                                                                                        Brokerage
            City                       State    ZIP Code
                                                                                                        Other__________

            ____________________________________                   XXXX–___ ___ ___ ___                Checking                _________              $___________
            Name of Financial Institution
                                                                                                        Savings
            ____________________________________
            Number       Street                                                                         Money market
            ____________________________________                                                        Brokerage
            ____________________________________                                                        Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
          No
          Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number   Street

            ____________________________________
                                                                  _______________________________________
                                                                  City       State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
                Case 2:19-bk-24457-ER                             Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                Desc
                                                                  Main Document Page 55 of 74
Debtor 1           Anthony   Joseph Kassas
                    _______________________________________________________                                             Case number (if known)_____________________________________
                    First Name     Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
          No
          Yes. Fill in the details.
                                                                    Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                         have it?


             ___________________________________                    _______________________________________                                                               No
             Name of Storage Facility                               Name
                                                                                                                                                                          Yes
             ___________________________________                    _______________________________________                                                              
             Number       Street                                    Number    Street

             ___________________________________                    _______________________________________
                                                                    City State ZIP Code
             ___________________________________
             City                        State    ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
          No
          Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property                   Value


             ___________________________________
             Owner’s Name                                                                                                                                            $__________
                                                                  _________________________________________
             ___________________________________                  Number     Street
             Number       Street
                                                                  _________________________________________
             ___________________________________
                                                                  _________________________________________
             ___________________________________                  City                             State     ZIP Code
             City                        State    ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


          No
          Yes. Fill in the details.
                                                                    Governmental unit                            Environmental law, if you know it                  Date of notice



            ____________________________________                   _______________________________                                                                   _________
            Name of site                                           Governmental unit

            ____________________________________                   _______________________________
            Number       Street                                    Number    Street

                                                                   _______________________________
            ____________________________________                   City                   State   ZIP Code


            ____________________________________
            City                        State    ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                page 10
             Case 2:19-bk-24457-ER                               Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                   Desc
                                                                 Main Document Page 56 of 74
Debtor 1        Anthony   Joseph Kassas
                 _______________________________________________________                                               Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

          No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                   Date of notice


            ____________________________________ _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                        _________

            ____________________________________ _______________________________
            Number       Street                                   Number     Street


            ____________________________________ _______________________________
                                                                  City                  State    ZIP Code

            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No
          Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                         Pending
           ______________________________________
                                                                                                                                                                         On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                   Concluded

           ______________________________________
                                                                    ________________________________
           Case number                                              City                        State   ZIP Code                                                        

 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

                                                                                                                                      From      _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

            ____________________________________
                                                                                                                                      From      _______ To _______
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 11
             Case 2:19-bk-24457-ER                           Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                         Desc
                                                             Main Document Page 57 of 74
Debtor 1        Anthony   Joseph Kassas
                 _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                                                                                                                        Employer Identification number
                                                                Describe the nature of the business
                                                                                                                        Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                        From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.

                                                                Date issued



            ____________________________________                ____________
            Name                                                MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



           ______________________________________________                    _____________________________
            Signature of Debtor 1                                                Signature of Debtor 2


            Date ________________                                                Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                              Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 12
               Case 2:19-bk-24457-ER                      Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                         Desc
 Fill in this information to identify your case:
                                                          Main Document Page 58 of 74
                                                                                                         Check one box only as directed in this form and in
                                                                                                         Form 122A-1Supp:
 Debtor 1          Anthony Joseph Kassas
                   __________________________________________________________________
                     First Name             Middle Name                 Last Name
                                                                                                            1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                 Last Name                           2. The calculation to determine if a presumption of
                                                                                                                abuse applies will be made under Chapter 7
                                         __________
 United States Bankruptcy Court for the: Central District of California
                                                       District of __________                                   Means Test Calculation (Official Form 122A–2).
 Case number         ___________________________________________                                            3. The Means Test does not apply now because of
 (If known)                                                                                                     qualified military service but it could apply later.


                                                                                                          Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
       Not married. Fill out Column A, lines 2-11.
      Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

       Married and your spouse is NOT filing with you. You and your spouse are:
         Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
         Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                         5225.00
                                                                                                          $_________            $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                                $_________ 0          $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                              $_________ 0          $__________

 5. Net income from operating a business, profession,
                                                                     Debtor 1       Debtor 2
    or farm
    Gross receipts (before all deductions)                              $______         $______
      Ordinary and necessary operating expenses                     –   $______     –   $______
                                                                                                  Copy
      Net monthly income from a business, profession, or farm              0.00
                                                                        $______         $______ here            0.00
                                                                                                          $_________            $__________

 6. Net income from rental and other real property                   Debtor 1       Debtor 2
    Gross receipts (before all deductions)                              $______         $______
      Ordinary and necessary operating expenses                     –   $______     –   $______
                                                                                                  Copy
      Net monthly income from rental or other real property                0.00
                                                                        $______         $______ here            0.00
                                                                                                          $_________            $__________
 7. Interest, dividends, and royalties                                                                    $_________ 0          $__________



Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                        page 1
                Case 2:19-bk-24457-ER                                    Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                           Desc
                                                                         Main Document Page 59 of 74

Debtor 1           Anthony Joseph Kassas
                   _______________________________________________________                                                   Case number (if known)_____________________________________
                   First Name          Middle Name                Last Name



                                                                                                                                Column A                    Column B
                                                                                                                                Debtor 1                    Debtor 2 or
                                                                                                                                                            non-filing spouse

    8. Unemployment compensation                                                                                                  $__________0                 $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ............................... 
                                                                                                                 0
           For you .................................................................................. $______________
                                                                                                         0
           For your spouse................................................................... $______________

    9. Pension or retirement income. Do not include any amount received that was a
       benefit under the Social Security Act.                                                                                     $__________0                $___________
    10. Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act or payments received
        as a victim of a war crime, a crime against humanity, or international or domestic
        terrorism. If necessary, list other sources on a separate page and put the total below.

        ______________________________________                                                                                    $_________                  $___________
        ______________________________________                                                                                    $_________                  $___________
        Total amounts from separate pages, if any.                                                                             + $_________                + $___________
    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                                                           5225.00
                                                                                                                                  $_________
                                                                                                                                                       +              0.00
                                                                                                                                                              $___________
                                                                                                                                                                                   =      5225.00
                                                                                                                                                                                       $__________
                                                                                                                                                                                       Total current
                                                                                                                                                                                       monthly income

    Part 2:       Determine Whether the Means Test Applies to You

    12. Calculate your current monthly income for the year. Follow these steps:
       12a.     Copy your total current monthly income from line 11. .................................................................................. Copy line 11 here            5225.00
                                                                                                                                                                                   $__________

                Multiply by 12 (the number of months in a year).                                                                                                                   x 12
       12b.     The result is your annual income for this part of the form.                                                                                                12b.      62700.00
                                                                                                                                                                                   $__________

    13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                              California

       Fill in the number of people in your household.                                   2

       Fill in the median family income for your state and size of household. ............................................................................................. 13.      77860.00
                                                                                                                                                                                   $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.
    14. How do the lines compare?

       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.

       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.

    Part 3:        Sign Below

                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                       __________________________________________________________                                       ______________________________________
                       Signature of Debtor 1                                                                              Signature of Debtor 2

                       Date _________________                                                                             Date _________________
                            MM / DD / YYYY                                                                                     MM / DD / YYYY

                       If you checked line 14a, do NOT fill out or file Form 122A–2.
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯

Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                                                                          page 2
                 Case 2:19-bk-24457-ER                         Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                             Desc
    Fill in this information to identify your case:            Main Document Page 60 of 74

    Debtor 1           Anthony Joseph Kassas
                      __________________________________________________________________
                        First Name               Middle Name            Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name               Middle Name            Last Name


    United States Bankruptcy Court for the: Central District
                                            __________ Districtof California
                                                               of __________

    Case number         ___________________________________________
    (If known)

                                                                                                         Check if this is an amended filing


Official Form 122A─1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                         12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).



Part 1:          Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

         No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
              submit this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.


Part 2:          Determine Whether Military Service Provisions Apply to You


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

    No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                  No. Go to line 3.
                  Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                              Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
     No. Complete Form 122A-1. Do not submit this supplement.
     Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
        No. Complete Form 122A-1. Do not submit this supplement.
        Yes. Check any one of the following categories that applies:
                    I was called to active duty after September 11, 2001, for at least        If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                        Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                               check box 3, The Means Test does not apply now, and
                    I was called to active duty after September 11, 2001, for at least
                                                                                               sign Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                               Form 122A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                               Official Form 122A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.         exclusion period means the time you are on active duty
                                                                                               or are performing a homeland defense activity, and for
                    I performed a homeland defense activity for at least 90 days,             540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days
                                                                                               If your exclusion period ends before your case is closed,
                     before I file this bankruptcy case.
                                                                                               you may have to file an amended form later.


Official Form 122A-1Supp                     Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
                 Case 2:19-bk-24457-ER                                       Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                         Desc
                                                                             Main Document Page 61 of 74

  Fill in this information to identify your case:                                                                                                 Check the appropriate box as directed in
                                                                                                                                                  lines 40 or 42:

  Debtor 1           Anthony Joseph Kassas
                     _________________________________________________________________                                                            According to the calculations required by
                      First Name                             Middle Name                          Last Name
                                                                                                                                                  this Statement:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                             Middle Name                          Last Name                                           1. There is no presumption of abuse.

                                          Central District
  United States Bankruptcy Court for the: __________       of of
                                                     District California
                                                                 __________                                                                           2. There is a presumption of abuse.

  Case number         ___________________________________________
   (If known)
                                                                                                                                                   Check if this is an amended filing



Official Form 122A–2
Chapter 7 Means Test Calculation                                                                                                                                                           4/16

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).


Part 1:           Determine Your Adjusted Income



1. Copy your total current monthly income. ............................................................... Copy line 11 from Official Form 122A-1 here ...........                       5225.00
                                                                                                                                                                                       $_________

2. Did you fill out Column B in Part 1 of Form 122A–1?

        No. Fill in $0 for the total on line 3.
        Yes. Is your spouse filing with you?

                No. Go to line 3.
                Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

    On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT
    regularly used for the household expenses of you or your dependents?

     No. Fill in 0 for the total on line 3.
    Yes. Fill in the information below:

                State each purpose for which the income was used                                                       Fill in the amount you
                For example, the income is used to pay your spouse’s tax debt or to support                            are subtracting from
                people other than you or your dependents                                                               your spouse’s income


            ___________________________________________________                                                          $______________


            ___________________________________________________                                                          $______________

            ___________________________________________________                                                        + $______________
            Total. .................................................................................................               0.00
                                                                                                                         $______________
                                                                                                                                                Copy total here ...............     ─ $_________0.00


4. Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                              0.00
                                                                                                                                                                                       $_________




Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                  page 1
             Case 2:19-bk-24457-ER                                   Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                      Desc
                                                                     Main Document Page 62 of 74
Debtor 1        Anthony   Joseph Kassas
                _______________________________________________________                                                          Case number (if known)_____________________________________
                First Name          Middle Name               Last Name




Part 2:        Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk’s office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A–1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A–1 is filled in.



   5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.



   National Standards                  You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
      in the dollar amount for food, clothing, and other items.
                                                                                                                                                                                       .00
                                                                                                                                                                                $________



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categoriespeople who are
      under 65 and people who are 65 or olderbecause older people have a higher IRS allowance for health care costs. If your
      actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a.    Out-of-pocket health care allowance per person
                                                                                                .00
                                                                                      $____________


       7b.    Number of people who are under 65
                                                                                      X ______

       7c.    Subtotal. Multiply line 7a by line 7b.                                          0.00
                                                                                      $____________              Copy here                     0.00
                                                                                                                                        $___________




           People who are 65 years of age or older


       7d.    Out-of-pocket health care allowance per person
                                                                                      $____________

       7e.    Number of people who are 65 or older                                    X ______


       7f.    Subtotal. Multiply line 7d by line 7e.                                          0.00
                                                                                      $____________              Copy here
                                                                                                                                               0.00
                                                                                                                                     + $___________

       7g.    Total. Add lines 7c and 7f......................................................................................                 0.00
                                                                                                                                        $___________        Copy total here          0.00
                                                                                                                                                                                $________




Official Form 122A–2                                                         Chapter 7 Means Test Calculation                                                                    page 2
              Case 2:19-bk-24457-ER                                 Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                   Desc
                 Anthony   Joseph Kassas
                                                                    Main Document Page 63 of 74
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name




   Local Standards                 You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
    Housing and utilities – Insurance and operating expenses
    Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk’s office.


   8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses. ........................................................................               $____________


   9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount listed
              for your county for mortgage or rent expenses. ......................................................................            $___________


           9b. Total average monthly payment for all mortgages and other debts secured by your home.



              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Then divide by 60.

                Name of the creditor                                                               Average monthly
                                                                                                   payment

                ___________________________________                                                 $____________

                ___________________________________                                                $____________


                ___________________________________ +                                              $____________

                                                                                                                               Copy                           Repeat this
                                             Total average monthly payment                                  0.00
                                                                                                    $____________
                                                                                                                               here
                                                                                                                                             ─ $___________
                                                                                                                                                       0.00   amount on
                                                                                                                                                              line 33a.


       9c.     Net mortgage or rent expense.
                                                                                                                                                      0.00    Copy             0.00
                                                                                                                                                                        $___________
               Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                      $___________
               rent expense). If this amount is less than $0, enter $0. ..................................................................                    here




   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                             $___________
       the calculation of your monthly expenses, fill in any additional amount you claim.

           Explain       _________________________________________________________________
           why:
                         _________________________________________________________________

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
        0. Go to line 14.
       1. Go to line 12.
       2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                                      .00
                                                                                                                                                                        $___________




Official Form 122A–2                                                       Chapter 7 Means Test Calculation                                                                 page 3
           Case 2:19-bk-24457-ER                             Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                              Desc
               Anthony   Joseph Kassas
                                                             Main Document Page 64 of 74
Debtor 1       _______________________________________________________                                          Case number (if known)_____________________________________
               First Name         Middle Name           Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
       for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
       In addition, you may not claim the expense for more than two vehicles.


       Vehicle 1            Describe Vehicle 1:    _______________________________________________________________
                                                   _______________________________________________________________


       13a. Ownership or leasing costs using IRS Local Standard. ...................................................                       0
                                                                                                                                 $___________

       13b.    Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
              To calculate the average monthly payment here and on line 13e, add all
              amounts that are contractually due to each secured creditor in the 60 months
              after you filed for bankruptcy. Then divide by 60.

                    Name of each creditor for Vehicle 1                        Average monthly
                                                                               payment

                 _____________________________________                            $____________

                 _____________________________________                        +              0
                                                                                  $____________

                                                                                                             Copy                                Repeat this
                                    Total average monthly payment                         0.00
                                                                                  $____________                             ─           0.00
                                                                                                                                $____________    amount on
                                                                                                             here                               line 33b.

                                                                                                                                                Copy net
       13c. Net Vehicle 1 ownership or lease expense                                                                                            Vehicle 1
              Subtract line 13b from line 13a. If this amount is less than $0, enter $0. .............................                  0.00
                                                                                                                                $____________   expense
                                                                                                                                                here ..... 
                                                                                                                                                                        0.00
                                                                                                                                                                $_________



       Vehicle 2            Describe Vehicle 2:    _______________________________________________________________
                                                   _______________________________________________________________


       13d. Ownership or leasing costs using IRS Local Standard. .................................................              $____________

       13e.    Average monthly payment for all debts secured by Vehicle 2.
               Do not include costs for leased vehicles.

                    Name of each creditor for Vehicle 2                        Average monthly
                                                                               payment


                 _____________________________________                            $____________



                 _____________________________________                        +              0
                                                                                  $____________


                                                                                                               Copy                              Repeat this
                                     Total average monthly payment                        0.00
                                                                                  $____________                             ─ $____________
                                                                                                                                      0.00       amount on
                                                                                                               here                             line 33c.

                                                                                                                                                Copy net
       13f. Net Vehicle 2 ownership or lease expense                                                                                            Vehicle 2
              Subtract line 13e from 13d. If this amount is less than $0, enter $0. .....................................
                                                                                                                                        0.00
                                                                                                                                $____________   expense
                                                                                                                                                here ...               0.00
                                                                                                                                                                $________


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                            $________      0

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                                                    100.00
                                                                                                                                                                $________


Official Form 122A–2                                                Chapter 7 Means Test Calculation                                                            page 4
           Case 2:19-bk-24457-ER                        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                    Desc
                                                        Main Document Page 65 of 74
Debtor 1      Anthony   Joseph Kassas
              _______________________________________________________                            Case number (if known)_____________________________________
              First Name    Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your                               00
                                                                                                                                                 $________
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
                                                                                                                                                         0
                                                                                                                                                 $________
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.                        0
                                                                                                                                                 $________


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                                         0
                                                                                                                                                 $________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.
                                                                                                                                                         0
                                                                                                                                                 $________


   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                                 $_______0


   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                                $________


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it       +    $_______
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                              0.00
                                                                                                                                                 $_______
       Add lines 6 through 23.




Official Form 122A–2                                           Chapter 7 Means Test Calculation                                                  page 5
           Case 2:19-bk-24457-ER                     Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                Desc
               Anthony   Joseph Kassas
                                                     Main Document Page 66 of 74
Debtor 1       _______________________________________________________                        Case number (if known)_____________________________________
               First Name     Middle Name       Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                                     0
                                                                 $____________

       Disability insurance                                      $____________

       Health savings account                                +   $____________

       Total                                                      0.00
                                                                 $____________                   Copy total here .....................................      0.00
                                                                                                                                                            $________

       Do you actually spend this total amount?

          No. How much do you actually spend?                   $___________
          Yes



   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
      continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your                          $________
      household or member of your immediate family who is unable to pay for such expenses. These expenses may include
      contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
                                                                                                                                                            $________
       you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
      If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
      8, then fill in the excess amount of home energy costs.
                                                                                                                                                            $________
      You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
      claimed is reasonable and necessary.


   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83*
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
      elementary or secondary school.                                                                                                                       $________
      You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher                                  $_______
      than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
      food and clothing allowances in the IRS National Standards.
      To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
      this form. This chart may also be available at the bankruptcy clerk’s office.
      You must show that the additional amount claimed is reasonable and necessary.


   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                              + $_______
      instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


   32. Add all of the additional expense deductions.                                                                                                        $_______ 0.00
       Add lines 25 through 31.




Official Form 122A–2                                        Chapter 7 Means Test Calculation                                                                page 6
                Case 2:19-bk-24457-ER                                        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                          Desc
                                                                             Main Document Page 67 of 74
Debtor 1            Anthony Joseph Kassas
                    _______________________________________________________                                                                  Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                                       Average monthly
                                                                                                                                                       payment
                    Mortgages on your home:

           33a. Copy line 9b here ................................................................................................................                  0.00
                                                                                                                                                           $_____________

                    Loans on your first two vehicles:                                                                             
           33b. Copy line 13b here. ............................................................................................................                    0.00
                                                                                                                                                           $_____________

           33c. Copy line 13e here. ...........................................................................................................                     0.00
                                                                                                                                                           $_____________

           33d. List other secured debts:

                                                                                                                                   
                      Name of each creditor for other                              Identify property that                        Does payment
                      secured debt                                                 secures the debt                              include taxes
                                                                                                                                 or insurance?


                       _______________________________                             ________________________
                                                                                                                                         No
                                                                                                                                                           $____________
                                                                                                                                         Yes


                       _______________________________                             ________________________
                                                                                                                                         No
                                                                                                                                                           $____________
                                                                                                                                         Yes

                                                                                                                                         No
                       _______________________________                             ________________________                                            +   $____________0
                                                                                                                                         Yes

                                                                                                                                                                            Copy total
      33e. Total average monthly payment. Add lines 33a through 33d. ....................................................                                            0.00
                                                                                                                                                           $____________                             0.00
                                                                                                                                                                            here            $_________


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

              No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.

                        Name of the creditor                         Identify property that                    Total cure                                  Monthly cure
                                                                     secures the debt                          amount                                      amount

                        _______________________                      ____________________                    $__________               ÷ 60 =              $_____________

                        _______________________                      ____________________                    $__________               ÷ 60 =              $_____________

                        _______________________                      ____________________                    $__________               ÷ 60 =          +   $_____________

                                                                                                                                                                            Copy total
                                                                                                                                         Total             $_____________                    $________
                                                                                                                                                                            here


   35. Do you owe any priority claims such as a priority tax, child support, or alimony ─
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

              No. Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.

                        Total amount of all past-due priority claims .................................................................                     $____________    ÷ 60 =                   0.00
                                                                                                                                                                                             $_________

Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                       page 7
                Case 2:19-bk-24457-ER                                       Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                                          Desc
                                                                            Main Document Page 68 of 74
Debtor 1           Anthony Joseph Kassas
                   _______________________________________________________                                                                Case number (if known)_____________________________________
                   First Name           Middle Name                  Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
             No. Go to line 37.
             Yes. Fill in the following information.

                       Projected monthly plan payment if you were filing under Chapter 13                                                                   $_____________
                       Current multiplier for your district as stated on the list issued by the
                       Administrative Office of the United States Courts (for districts in Alabama and
                       North Carolina) or by the Executive Office for United States Trustees (for all
                       other districts).                                                                                                                x    ______
                       To find a list of district multipliers that includes your district, go online using the
                       link specified in the separate instructions for this form. This list may also be
                       available at the bankruptcy clerk’s office.
                                                                                                                                                                                      Copy total
                       Average monthly administrative expense if you were filing under Chapter 13                                                           $_____________                             $_________
                                                                                                                                                                                      here



   37. Add all of the deductions for debt payment.                                                                                                                                                          0.00
                                                                                                                                                                                                       $_________
       Add lines 33e through 36. ..............................................................................................................................................................


   Total Deductions from Income


   38. Add all of the allowed deductions.

       Copy line 24, All of the expenses allowed under IRS                                                      0.00
                                                                                                      $______________
       expense allowances .....................................................................

       Copy line 32, All of the additional expense deductions ..........                                        0.00
                                                                                                      $______________


       Copy line 37, All of the deductions for debt payment .............                                      0.00
                                                                                                   + $______________

                                                                     Total deductions                           0.00
                                                                                                      $______________                           Copy total here ...............................       $_________0.00


   Part 3:           Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months

         39a.     Copy line 4, adjusted current monthly income .....                                            0.00
                                                                                                      $_____________

         39b.     Copy line 38, Total deductions. .........                                       −             0.00
                                                                                                      $_____________

         39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                             0.00                            Copy                          0.00
                                                                                                      $_____________                                                $____________
                 Subtract line 39b from line 39a.                                                                                               here

                   For the next 60 months (5 years) ...........................................................................................................     x 60

                                                                                                                                                                                             Copy
         39d. Total. Multiply line 39c by 60. ..................................................................................................................            0.00
                                                                                                                                                                    $____________
                                                                                                                                                                                             here                 0.00
                                                                                                                                                                                                           $________


   40. Find out whether there is a presumption of abuse. Check the box that applies:

             The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to
              Part 5.

             The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
              may fill out Part 4 if you claim special circumstances. Then go to Part 5.

             The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

              * Subject to adjustment on 4/01/16, and every 3 years after that for cases filed on or after the date of adjustment.


Official Form 122A–2                                                                Chapter 7 Means Test Calculation                                                                                   page 8
              Case 2:19-bk-24457-ER                                        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                                                   Desc
                Anthony Joseph Kassas
                                                                           Main Document Page 69 of 74
Debtor 1        _______________________________________________________                                                                      Case number (if known)_____________________________________
                First Name            Middle Name                   Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
            Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
            (Official Form 106Sum), you may refer to line 3b on that form. ...........................................................                                   96089.42
                                                                                                                                                                       $___________

                                                                                                                                                                       x   .25

           41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).                                                                                          Copy
                                                                                                                                                                              0.00                        0.00
                                                                                                                                                                                                   $________
               Multiply line 41a by 0.25. ..........................................................................................................................
                                                                                                                                                                       $___________    here




   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

            Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

            Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
             of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




Part 4:         Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

      No. Go to Part 5.
      Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
            for each item. You may include expenses you listed in line 25.


              You must give a detailed explanation of the special circumstances that make the expenses or income
              adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
              expenses or income adjustments.

                                                                                                                                                                       Average monthly expense
               Give a detailed explanation of the special circumstances
                                                                                                                                                                       or income adjustment

               _______________________________________________________________________________                                                                         $__________________

               _______________________________________________________________________________                                                                         $__________________

               _______________________________________________________________________________
                                                                                                                                                                       $__________________

               _______________________________________________________________________________                                                                         $__________________




Part 5:       Sign Below


              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                  ___________________________________________________                                                    ___________________________________
                  Signature of Debtor 1                                                                                          Signature of Debtor 2


                  Date _________________                                                                                         Date _________________
                          MM / DD          / YYYY                                                                                        MM / DD         / YYYY



Official Form 122A–2                                                                 Chapter 7 Means Test Calculation                                                                            page 9
                  Case 2:19-bk-24457-ER                    Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                 Desc
                                                           Main Document Page 70 of 74
Fill in this information to identify your case:

Debtor 1           Anthony Joseph Kassas
                  __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: Central District
                                        __________       of California
                                                      District of __________

Case number         ___________________________________________                                                                            Check if this is an
 (If known)                                                                                                                                   amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                    secures a debt?                                   as exempt on Schedule C?

          Creditor’s
                           N/A                                                      Surrender the property.                           No
          name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________

  
         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________
  
         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________

         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
              Case 2:19-bk-24457-ER                          Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                Desc
                                                             Main Document Page 71 of 74
 Debtor 1            Anthony Joseph Kassas
                    ______________________________________________________                          Case number (If known)_____________________________________
                    First Name          Middle Name     Last Name




   Part 2:          List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                    Will the lease be assumed?

       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                      No
       Description of leased                                                                                                Yes
       property:


       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:
  
       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:




  Part 3:           Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



      ___________________________________________                     ___________________________________________
       Signature of Debtor 1                                             Signature of Debtor 2

       Date _________________                                            Date _________________
             MM /     DD     /   YYYY                                         MM /   DD /   YYYY




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                          page 2
          Case 2:19-bk-24457-ER                  Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33                                      Desc
                                                 Main Document Page 72 of 74


 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address




     Debtor(s) appearing without attorney
     Attorney for Debtor

                                          UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA -Name of DIVISION

 In re:                                                                    CASE NO.:
                                                                           CHAPTER:




                                                                                         VERIFICATION OF MASTER
                                                                                        MAILING LIST OF CREDITORS
                                                                                                    [LBR 1007-1(a)]


                                                           Debtor(s).



Pursuant to LBR 1007-1(a), the Debtor, or the Debtor’s attorney if applicable, certifies under
penalty of perjury that the master mailing list of creditors filed in this bankruptcy case, consisting of
___ sheet(s) is complete, correct, and consistent with the Debtor’s schedules and I/we assume all
responsibility for errors and omissions.


Date: ___________________                                                 _______________________________________
                                                                          Signature of Debtor 1

Date: ___________________                                                 _______________________________________
                                                                          Signature of Debtor 2 (joint debtor) (if applicable)

Date: ___________________                                                 _______________________________________
                                                                          Signature of Attorney for Debtor (if applicable)


           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California

December 2015                                                                                       F 1007-1.MAILING.LIST.VERIFICATION
       Case 2:19-bk-24457-ER       Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33   Desc
                                   Main Document Page 73 of 74

                                        CREDITOR LIST


St. Joseph Heritage Healthcare
PO Box 31001-1913
Pasadena, CA 91110

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

Collection Consultants of California
6100 San Fernando Road
Suite 211
Glendale, CA 91201

Repair Physical Therapy Corp
PO Box 1122
Rhinelander, WI 54501

St. Jude Medical Center
PO Box 31001-1877
Pasadena, CA 91110

CMRE Financial Services Inc.
3075 E. Imperial Hwy Suite 200
Brea, CA 92821

Pioneer Credit Services
PO Box 500
Horseheads, NY 14845

Progressive Management Systems
1521 West Cameron Ave
Wesy Covina, CA 91790

Bako
PO Box 740209
Atlanta, GA 30374

St Jude Radiology Med Group
PO Box 940
Newbury Park, CA 91319

Medi-Cal for Families
PO Box 138011
Sacramento, CA 95813

Wave Imaging LLC
PO Box 843960
Los Angeles, CA 90084

Allied Anestesia Medical Group
PO Box 660940
Mailstop 69057560
Dallas, TX 75266
       Case 2:19-bk-24457-ER        Doc 1 Filed 12/11/19 Entered 12/11/19 11:33:33   Desc
                                    Main Document Page 74 of 74




Continental Credit Control
PO Box 30348
Santa Barbara, CA 93130

Beverly Radiology Medical Group
PO Box 101418
Pasadena, CA 91189

Windham Professionals Inc.
PO Box 1048
Salem, NH 03079

AWA Collections
PO Box 6605
Orange, CA 92863

Mark E. Anderson MD, A Professional Corp
16300 Sand Canyon Ave #1005
Irvine, CA 92618

Franchise Tax Board
Bankruptcy Section MS: A-340 P.O. Box 2952
Sacramento, CA 95812-2952

Hunt & Henriques, Attnys at Law
151 Bernal Road Suite 8
San Jose, CA 95119

Portfolio Recovery Asociates, LLC
120 Corporate Blvd
Norfolk, VA 23502

Wayne H Martin MD Inc
1111 S Grand Ave
Suite A
Diamond Bar, CA 91765
